            Case 2:91-cr-80936-PJD ECF No. 1156, PageID.1989 Filed 04/21/09 Page 1 of 1
  ~AO 247 (02/08)   Order Regarding Motion for Sentence Reduction




                      United States of America                      )
                             v.                                     )
                    BRETT LANG                                      ) Case No: 91-80936-5
                                                                    ) USMNo: 15462-039
 Date of Previous Judgment: J u n e 1 4, 200 1                      )    Patricia Maceroni
 (Use Date ofLast Amended Judgment if Applicable)                   ) Defendant's Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

         Upon motion of E] the defendant                 D
                                                  the Director of the Bureau of Prisons    0
                                                                                         the court under 18 U.S.C.
 § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
 subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
 § 994(u), and having considered such motion,
 IT IS ORDERED that the motion is:
         oDENIED. IilGRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                     the last judgment issued) of 3 2 0       months is reduced to 2 4 0 m0 nth s

I. COURT DETERMINATION OF GUIDELINE RANGE (prior to Any Departures)
Previous Offense Level:    43                     Amended Offense Level:                                39
Criminal History Category:  I                     Criminal History Category:                              I
Previous Guideline Range:     to 1 i f e m&a:thsc Amended Guideline Range:                              262     to .1lL months
 II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
o
D
    The reduced sentence is within the amended guideline range.
    The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
    of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
    amended guideline range.
[JOther(explain): The Defendant, following his previous appeals, was granted a
                     departure to avoid punishing him for his successful appeal, and
                     for post conviction rehabilitation.



Ill. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated        6 / 1 4/ 0 1   shall remain in effect.
IT IS SO ORDERED.

Order Date:           A: p r i 1 2 1, 2009
                                                                          ~~ t€gA~12/!;t.:,L-r---
                                                                          PATRICK J.DUGGAN
Effective Date:                                                      UNITED STATES DISTRICT JUDGE
                    ~~~-.,.-----
                     (if different from order date)                                    Printed name and title
